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 6                     UNITED STATES DISTRICT COURT
                    WESTERN DISCTRICT OF WASHINGTON
 7                              AT TACOMA
       UNITED STATES OF AMERICA           CASE NO. 05-5823 RBL
 8
                                                       Order Re Dunigan’s Motion to Seal
 9                                    Plaintiff,       Sentencing Memo
10                     v.

11     THOMAS EVANS DUNIGAN, et. al.
                         Defendant.
12                                  Order
13           Defendant Thomas Dunigan moves the Court to seal his sentencing memo.
      The Court has already ordered that the Government’s Sentencing memo be sealed.
14    The reasons supporting that Order likewise apply to Mr. Dunigan’s sentencing
15    memo. Accordingly, the Court GRANTS Mr. Dunigan’s motion and his sentencing



                                                   A
16    IT IS SO ORDERED this 20th day of June 2007

17
                                     RONALD B. LEIGHTON
18                                   UNITED STATES DISTRICT JUDGE
                        Digitally Signed upon authorization (JAB)
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20
      Presented By:
21    By: /s/____________________________________
              PHIL BRENNAN, WSBA #25711*
22            Attorney for Def. Dunigan; Date: 6/19/07

23
      Order Sealing Sentencing Memo                1                    PHIL BRENNAN, Esq.
                                                                           P.O. Box 22837
                                                                          Seattle, WA 98122
                                                                           (206) 372-5881
